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  4
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  5   ALEXANDER MIRZA, an individual
  6
  7                                                         UNITED STATES DISTRICT COURT
  8                                                     CENTRAL DISTRICT OF CALIFORNIA
  9
      ALEXANDER MIRZA, an individual,       )                                             Case No. 2:17-07140-RGK (KSx)
 10                                         )
                         Plaintiff,         )                                             FIRST AMENDED COMPLAINT
 11                                         )                                             FOR DAMAGES
            vs.                             )
 12                                         )                                             1.   RETALIATION;
      CACHET HOTEL GROUP LIMITED )
 13   CAYMAN L.P., a limited partnership; )                                               2.   DISCRIMINATION;
      CACHET HOTEL GROUP LIMITED )
 14   (HK), a limited partnership; and DOES )                                             3.   WRONGFUL
      1-10                                  )                                                  TERMINATION IN
 15                                         )                                                  VIOLATION OF PUBLIC
                                            )                                                  POLICY;
 16                      Defendants.
                                                                                          4.   BREACH OF CONTRACT
 17
                                                                                          5.   WAITING TIME
 18                                                                                            PENALTIES (Cal Lab. Code
                                                                                               §§ 201-203)
 19
                                                                                          6.   FAILURE TO INDEMNIFY
 20                                                                                            IN VIOLATION OF
                                                                                               LABOR CODE §2802
 21
                                                                                          JURY TRIAL DEMAND
 22
 23
 24                                                            INTRODUCTORY ALLEGATIONS
 25                  1. Plaintiff Alexander Mirza is, and at all times relevant hereto was, a resident
 26   of the State of California, County of Los Angeles
 27                  2. Plaintiff is informed and believes, and thereon alleges, that defendants
 28   Cachet Hotel Group Limited Cayman L.P. and Cachet Hotel Hospitality Group are,

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  1   and at all times relevant hereto were, limited partnerships authorized and doing
  2   business within the State of California, County of Los Angeles. Robert Roche was, at
  3   all times relevant, the Chairman of both Cachet defendants.
  4                  3. The true names and capacities of defendants Does 1 to 10, inclusive,
  5   whether individual, corporate, associate or otherwise, are not known to plaintiff, who
  6   therefore sues said defendants by such fictitious names. Plaintiff is informed and
  7   believes, and thereon alleges, that each of said fictitiously named defendants is
  8   somehow responsible for the damage complained of herein, and plaintiff will pray
  9   leave to amend this complaint to show their true names and capacities when same
 10   have been ascertained.
 11                  4. At all times herein mentioned, each defendant was the agent, servant and
 12   employee of its remaining co-defendants, and was at all times acting within the
 13   course and scope of said agency, service or employment.
 14                  5. Plaintiff is a hotel industry veteran, who for several years served on the
 15   management teams of Hilton and Starwood. In the spring of 2012, plaintiff was
 16   President of SBE Hospitality which owns SLS and other luxury hotels. At the time,
 17   plaintiff was in China negotiating a deal on behalf of SBE Hospitality when he met
 18   Robert Roche. Plaintiff approached Mr. Roche as an investor, with a business plan for
 19   a hotel management company. Ultimately, plaintiff registered the name Cachet,
 20   merged David Laris Restaurant Company with Cachet, which at the time had 8
 21   locations, and convinced Mr. Roche to buy another distressed hotel in Shanghai, and
 22   then rebranded it as Cachet.
 23                  6. In recognition of plaintiff’s unique talents and ability, and in light of his
 24   having been one of the founders of defendants Cachet, plaintiff became employed by
 25   defendants as President and Chief Executive Officer. Effective April 1, 2013,
 26   plaintiff’s employment became subject to a written employment contract, which
 27   contract was subsequently amended effective May 1, 2014 and again in May 2016.
 28   Pursuant to these contracts and their amendments, copies of which are attached

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  1   cumulatively as Exhibit 1, plaintiff was to earn a salary of $400,000 annually, with
  2   guaranteed annual increases of 4%, an annual discretionary bonus of up to 35 %, and
  3   various additional benefits. His total compensation package was valued in excess of
  4   $600,000 per year. The term of the employment contract was to May 31, 2021 unless
  5   terminated early for “good cause” as defined in the contract.
  6                  7. In addition to plaintiff’s cash compensation, plaintiff was awarded
  7   approximately a 10% equity interest in all future profits of defendant Cachet Cayman,
  8   and was made a limited partner of said entity.
  9                  8. Plaintiff was extremely successful in his employment, and served
 10   defendants ably and with excellence. Over the course of the plaintiff’s employment,
 11   plaintiff used his industry contacts to source and successfully procure hotel deals for
 12   Cachet starting with a 5 star, 200 room hotel in Chengdu, China. Plainitff used his
 13   longstanding industry relationships and networks in Asia to source and close 15
 14   management contracts and leases with a Net Present Value of $290mm and $20mm
 15   annual stabilized fees for an average of 25 years.
 16                  9. Mr. Mirza also developed hundreds of pages of detailed hotel brand
 17   standards, hotel management, centralized services and technical services agreements
 18   by modifying old templates including product, service and technology requirements
 19   for each hotel brand resulting in saving the company at least half a million dollars in
 20   start up costs. In this regard, plaintiff also created the blueprint for a low cost
 21   technology platform to fulfill Cachet's obligations in its hotel contracts and
 22   centralized services and building a team to sign large database partnerships such as
 23   banks and airlines. The platform provided significant upside for hotel franchising and
 24   licensing as well as a booking engine for other independent boutique hotels which
 25   has become the widely adopted industry trend.
 26                  10. Equally significant, plaintiff also recruited, and spent hundreds of hours
 27   training and developing a senior management team in China, Thailand/Southeast Asia
 28   and the U.S., building a corporate organization which was widely hailed as being

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  1   almost 50% women, with over one-third (1/3) of General Managers being women or
  2   minorities (compared to 5% for the industry). In fact, the corporate organization of
  3   over 60 people was recognized as the "Most Up and Coming Management" company
  4   in Asia in 2016. Plaintiff is informed and believes, however, and thereon alleges, that
  5   Mr. Roche objected to plaintiff’s efforts to build a diversified workforce and
  6   routinely singled out and unnecessarily criticized top women executives.
  7                  11. In or about August 2016, plaintiff met Adam Hochfelder. Plaintiff is
  8   informed and believes, and thereon alleges, that Mr. Hochfelder was and is a
  9   Managing Director of Real Estate Acquisitions & Development for Merchants
 10   Hospitality. Despite Mr. Hochfelder’s undisputed business acumen, plaintiff is
 11   informed and believes, and thereon alleges, that Mr. Hochfelder pleaded guilty to
 12   grand larceny and scheming to defraud investors, was charged with swindling not
 13   banks, friends and family out of more than $17 million in loans and investment
 14   capital by forging documents, misrepresenting how much collateral he owned or lying
 15   about deals he was undertaking, pleaded guilty to 18 counts of grand larceny and
 16   scheming to defraud investors, and served time in prison.
 17                  12. Notwithstanding Mr. Hochfelder’s unsavory criminal history, plaintiff is
 18   informed and believes, and thereon alleges, that Mr. Roche personally invested $5
 19   million in one of Mr. Hochfelder’s business ventures, the OUT Hotel of New York
 20   City, and in return acquired a 30% ownership stake in Merchants Hospitality.
 21   Plaintiff is further informed and believes that Mr. Roche thereafter engaged in other
 22   real estate investments with Merchants, including forming Merchants/Roche Capital
 23   Partners, a dedicated real estate fund.
 24                  13. In or about April 2017, plaintiff expressed concerns to Mr. Roche about
 25   the possibility of financial corruption by Mr. Hochfelder/Merchants, but Mr. Roche
 26   wanted to continue doing business with Mr. Hochfelder. Indeed, between April and
 27   July 2017, Mr. Roche directly negotiated joint ventures with Mr. Hochfelder
 28   involving two rounds of Merchants Investment into Cachet at a $250mm valuation

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  1   and the Phillipe Chow restaurant business. The second round would result in a Cachet
  2   board seat for Merchants.
  3                  14. By late May 2017, Cachet took over management of the OUT hotel and by
  4   mid June the hotel began experiencing financial problems because Merchants was not
  5   paying rent, taxes and insurance as required. As disturbing as these events were for
  6   plaintiff, even more disturbing was what happened shortly thereafter.
  7                  15. In mid-July, 2017, plaintiff learned that three females were pursuing
  8   allegations of sexual harassment and gender discrimination against Mr. Hochfelder.
  9   Plaintiff, in his role as defendants’ President and Chief Executive Officer, advised
 10   Mr. Roche and defendants’ Human Resources advisor, Dr. Michelle Crosby, of these
 11   allegations, including the identities of the women and the details of the allegations.
 12   Plaintiff also advised Mr. Roche and Dr. Crosby that he had received emails and texts
 13   from Mr. Hochfelder demeaning women at the New York property operations. As a
 14   Human Resources executive, Dr. Crosby had vast experience in handling and
 15   investigating these kinds of complaints for companies hence it was agreed that she
 16   would independently investigate the allegations as required by Title VII of the Civil
 17   Rights Act of 1964 and the Fair Employment and Housing Act. In addition, Dr.
 18   Crosby suggested hiring experienced employment counsel to defend against the
 19   allegations, if necessary. On behalf of defendants, and in the course and scope of his
 20   duties to them, plaintiff authorized the retention of Thompson Coburn, and
 21   specifically employment partners Mark Levinson and Arthur Silbergeld.
 22                  16. Because of the sexual harassment complaints against Mr. Hochfelder, and
 23   their potential liability for Cachet, plaintiff was increasingly concerned about the
 24   implications for defendants of Mr. Hochfelder/Merchant's shareholder interest.
 25   Hence on July 21, 2017 plaintiff sent Mr. Roche an e-mail (with a copy to Dr.
 26   Crosby) stating, inter alia:
 27                                  "Hi Robert. I am writing this confidential message to you
 28                                  after some careful reflection and several conversations with

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  1                                  Michelle and our management team. I want to be on record
  2                                  that I strongly believe the best approach with Adam and
  3                                  Merchants is to have them remain only a small shareholder
  4                                  at 2.3% and focus on execution in NYC and the Phillipe JV.
  5                                  I do not want Adam or Merchants on our board of directors.
  6                                  I strongly believe this would destroy more economic value
  7                                  than it could create and that it would be toxic for Cachet on
  8                                  a number of levels. To be candid, I believe it would be a
  9                                  total disaster for Cachet and could ruin the company we
 10                                  have spent almost 5 years building.I take the same position
 11                                  as your friend Kurt Campbell: Adam's reputation and his
 12                                  criminal past will seriously damage our ability to raise
 13                                  capital and do deals with other developers and lenders.
 14                                  Furthermore, from an HR perspective, what I have
 15                                  experienced is that he is not at all suited to be part of an
 16                                  operating company like Cachet. He is unstable, lacks
 17                                  integrity and is toxic with people. I can't even begin to
 18                                  imagine the number of HR lawsuits and harassment claims
 19                                  we would face from women and minorities if he played a
 20                                  larger role and joined the board." (emphasis added).
 21                  Sadly, however, Mr. Roche rejected the email, complaining about “all the
 22   drama.”
 23                  17. Instead of supporting the investigation into the allegations of sexual
 24   harassment, Mr. Roche interfered with, and attempted to control, the investigation
 25   into Mr. Hochfelder’s alleged sexual harassment of the female employees. Mr. Roche
 26   went so far as to disparage plaintiff’s religion, Islam, by saying that he felt “stuck in a
 27   conflict between a Muslim and a Jew.” Plaintiff objected to Mr. Roche’s conduct
 28   because he felt it vitally important to determine if defendants’ female employees had

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  1   been subjected to sexual harassment, and if so, to remedy the situation as required by
  2   law, not to mention being the right thing to do. In addition, Dr. Crosby objected to
  3   Mr. Roche’s interference, writing on July 22, 2017:
  4                                  "Since you hired me for my experience and expertise I am
  5                                  going to give you my professional opinion on what needs to
  6                                  happen now...With all due respect, you need to stand down.
  7   You need to let me handle this investigation as I see fit and not tell me how to
  8   proceed...I am doing this to help protect you and your company...."
  9                  18. Despite Dr. Crosby’s and plaintiff’s objections, Mr. Roche was not
 10   deterred. On July 23, 2017, Mr. Roche persisted with his interference, demanding to
 11   see emails and text messages sent by Mr. Hochfelder. This caused Dr. Crosby to
 12   write:
 13                                  "Robert, I have no desire to be an adversarial situation with
 14                                  you over this. You are indeed the Chairman of the Board
 15                                  and, as I said before, you and Alex are entitled to run your
 16                                  business the way you see fit...After careful consideration
 17                                  and another sleepless night, I have come to the decision that
 18                                  I wish to withdraw my involvement in this investigation and
 19                                  you can hire suitable counsel of your choosing or whomever
 20                                  else you deem appropriate to manage it, as you see fit. . . ."
 21                  19. Because of Dr. Crosby's resignation, an outside law firm, Thompson
 22   Coburn, was authorized to retain EXTTI, a well respected workplace investigations
 23   firm, on defendants’ behalf to conduct the investigation surrounding the three
 24   complaints against Mr. Hochfelder. Then, on July 28, 2017, plaintiff was contacted
 25   by yet another employee, a manager at the New York hotel, saying that she wanted to
 26   file a sexual harassment complaint against her supervisor, the OUT Hotel General
 27   Manager, Kevin Fenton. As appropriate for his role, plaintiff immediately advised the
 28   outside employment attorneys, and Cachet's General Counsel, Lei Li.

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  1                  20. Mr. Roche, concerned that competent and independent investigations
  2   might confirm that his friend, business partner, and investor, Mr. Hochfelder, had
  3   indeed engaged in sexual harassment, and thereby possibly subject defendants to
  4   liability, continued his attempts to interfere by hiring a personal attorney, Ronald
  5   Passarelli in Illinois to replace Thompson Coburn. Mr. Passarelli similarly sought to
  6   obtain a copy of the e-mails/texts sent by Mr. Hochfelder to the victims.
  7                  21. On or about August 5, 2017, Mr. Roche had defendants’ board pass a
  8   resolution removing plaintiff from the sexual harassment investigation process. The
  9   following day, plaintiff sent an e-mail to the board members explaining that “[t]he
 10   investigation, as it pertains to Adam, is highly sensitive given Adam's financial and
 11   complex relationship with Cachet. . .Thompson Coburn is our Company counsel in
 12   this matter and provides legal guidance to the Board. . . . I encourage the Board to
 13   allow the investigation team hired by Thompson Coburn to complete its work and
 14   produce its report to me this coming week. I will then share the report with the Board
 15   . . . ."
 16                  22. On or about August 11, 2017, Mr. Roche complained that plaintiff’s
 17   insistence on a fair and independent investigation was “a battle between Muslims and
 18   Jews, and it is clear who is more rational.” The following day, August 12, 2017,
 19   defendants abruptly terminated plaintiff’s employment, allegedly “for cause,” but
 20   without stating any reason for the termination. Plaintiff is informed and believes, and
 21   thereon alleges, that his termination was without cause, and that his termination was,
 22   in fact, motivated in part by his religion and his insistence on the defendants
 23   conducting a thorough, fair and honest investigation into the allegations of Mr.
 24   Roche’s friend, business partner, and investor, Adam Hochfelder, as required by
 25   California and federal law.
 26
 27
 28                                                                       FIRST CAUSE OF ACTION

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  1                                               (Retaliation – Government Code and Title VII)
  2                  23.             Plaintiff incorporates by reference paragraphs 1 through 22 of the
  3   Introductory Allegations as though fully set forth herein.
  4                  24.             Plaintiff alleges that defendants’ termination of his employment was in
  5   retaliation for initiating and following through on the investigation into complaints of
  6   sexual harassment allegedly committed by Mr. Roche’s friend, business partner, and
  7   investor, Adam Hochfelder, and that said retaliation was in violation of the Fair
  8   Employment and Housing Act, Government Code §12940 and Title VII of the Civil
  9   Rights Act of 1964, 42 U.S.C. § 2000e, et seq, and was a substantial factor in causing
 10   damages and injury to plaintiff as described below.
 11                  25.             As a proximate result of the retaliatory conduct of the defendants, and
 12   each of them, plaintiff has suffered, and continues to suffer, loss of wages, bonuses,
 13   vacation pay and other special damages in an amount to be set forth at time of trial.
 14                  26. As a further proximate result of defendants' tortious conduct as
 15   hereinbefore alleged, plaintiff was caused to become seriously and severely
 16   emotionally upset and depressed. He has suffered, and continues to suffer, anxiety,
 17   worry, loss of appetite, loss of sleep, embarrassment, humiliation and mental anguish
 18   all to his damage and detriment in an amount unspecified at present, and which will
 19   be subject to proof at time of trial.
 20                  27.             The acts of defendants were done intentionally, willfully, oppressively,
 21   fraudulently and maliciously. The acts complained of were performed, authorized
 22   and/or ratified by defendants' officers, directors and managing agents, thereby
 23   entitling plaintiff to punitive and exemplary damages according to proof.
 24                  28.             Pursuant to Government Code Sections 12940 et seq., and Title VII of
 25   the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq plaintiff also has incurred
 26   attorney's fees, and seeks an award thereof.
 27                  29.             Plaintiff filed timely Complaints with the Department of Fair
 28   Employment and Housing and the Equal Employment Opportunity Commission, and

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  1   has been issued Right to Sue letters. Accordingly, plaintiff has exhausted his
  2   administrative remedies under the Government Code and Title VII.
  3                                                                   SECOND CAUSE OF ACTION
  4                                                                           (Religious Discrimination)
  5                  30.             Plaintiff incorporates by reference paragraphs 1 through 22 of the
  6   Introductory Allegations as though fully set forth herein.
  7                  31.             Plaintiff alleges that defendants’ termination of his employment was
  8   motivated, in part, due to the fact that he is a Muslim and was insisting on
  9   investigating allegations of sexual harassment committed by a Jewish person, and that
 10   said termination was therefore in violation of the Fair Employment and Housing Act,
 11   Government Code §12940 et seq., and Title VII of the Civil Rights Act of 1964, 42
 12   U.S.C. § 2000e, et seq, and was a substantial factor in causing damages and injury to
 13   plaintiff as described below.
 14                  32.             As a proximate result of the retaliatory conduct of the defendants, and
 15   each of them, plaintiff has suffered, and continues to suffer, loss of wages, bonuses,
 16   vacation pay and other special damages in an amount to be set forth at time of trial.
 17                  33. As a further proximate result of defendants' tortious conduct as
 18   hereinbefore alleged, plaintiff was caused to become seriously and severely
 19   emotionally upset and depressed. He has suffered, and continues to suffer, anxiety,
 20   worry, loss of appetite, loss of sleep, embarrassment, humiliation and mental anguish
 21   all to his damage and detriment in an amount unspecified at present, and which will
 22   be subject to proof at time of trial.
 23                  34.             The acts of defendants were done intentionally, willfully, oppressively,
 24   fraudulently and maliciously. The acts complained of were performed, authorized
 25   and/or ratified by defendants' officers, directors and managing agents, thereby
 26   entitling plaintiff to punitive and exemplary damages according to proof.
 27                  35.             Pursuant to Government Code Sections 12940 et seq., and Title VII of
 28   the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq plaintiff also has incurred

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  1   attorney's fees, and seeks an award thereof.
  2                  36.             Plaintiff filed timely Complaints with the Department of Fair
  3   Employment and Housing and the Equal Employment Opportunity Commission, and
  4   has been issued Right to Sue letters. Accordingly, plaintiff has exhausted his
  5   administrative remedies under the Government Code and Title VII.
  6                                                                      THIRD CAUSE OF ACTION
  7                                      (Wrongful Termination In Violation Of Public Policy)
  8                  37.             Plaintiff incorporates by reference paragraphs 1 through 22 of the
  9   Introductory Allegations as though fully set forth herein.
 10                  38.             At all times relevant hereto, Government Code Sections 12940 et seq.
 11   and 42 U.S.C. § 2000e, et seq. were in full force and effect and represented the
 12   fundamental public policy of the State of California that employees are to be free of
 13   religious discrimination and free from retaliation for reporting and investigating what
 14   they reasonably believe to be sexually harassing behavior in the work place. Plaintiff
 15   contends that his termination was in violation of that fundamental public policy and
 16   was a substantial factor in causing damages and injury to plaintiff as described below.
 17                  39.             As a proximate result of the retaliatory conduct of the defendants, and
 18   each of them, plaintiff has suffered, and continues to suffer, loss of wages, bonuses,
 19   vacation pay and other special damages in an amount to be set forth at time of trial.
 20                  40. As a further proximate result of defendants' tortious conduct as
 21   hereinbefore alleged, plaintiff was caused to become seriously and severely
 22   emotionally upset and depressed. He has suffered, and continues to suffer, anxiety,
 23   worry, loss of appetite, loss of sleep, embarrassment, humiliation and mental anguish
 24   all to his damage and detriment in an amount unspecified at present, and which will
 25   be subject to proof at time of trial.
 26                  41.             The acts of defendants were done intentionally, willfully, oppressively,
 27   fraudulently and maliciously. The acts complained of were performed, authorized
 28   and/or ratified by defendants' officers, directors and managing agents, thereby

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  1   entitling plaintiff to punitive and exemplary damages according to proof.
  2                                                                   FOURTH CAUSE OF ACTION
  3                                                                                 (Breach of Contract)
  4                  42.             Plaintiff incorporates by reference paragraphs 1 through 22 of the
  5   Introductory Allegations as though fully set forth herein.
  6                  43.             Defendants’ termination of plaintiff’s employment was in breach of his
  7   contract of employment.
  8                  44. As a proximate result of defendant's breach of contract, as herein alleged,
  9   plaintiff has suffered, and continues to suffer, loss of wages, bonuses, and other
 10   special damages in an amount to be set forth at time of trial.
 11                                                                       FIFTH CAUSE OF ACTION
 12                                            (Failure to Pay Wages & Waiting Time Penalties)
 13                  45.             Plaintiff incorporates the allegations of Paragraphs 1 through 22 of the
 14   Introductory Allegations as though fully set forth herein.
 15                  46.             Defendants failed to pay plaintiff all wages due to him pursuant to his
 16   contract on the date they terminated his employment. Defendants’ failure to pay
 17   plaintiff all such wages upon termination was wilful, and plaintiff is therefore entitled
 18   to recover attorneys fees plus waiting time penalties equal to thirty days’ pay pursuant
 19   to Labor Code § 203.
 20                                                                       SIXTH CAUSE OF ACTION
 21                                                      (Failure To Indemnify Business Expenses)
 22                  47.             Plaintiff incorporates the allegations of Paragraphs 1 through 22 of the
 23   Introductory Allegations as though fully set forth herein.
 24                  48.             In addition to all the foregoing allegations, plaintiff alleges that he had
 25   an American Express credit card which he and other executives used for legitimate
 26   expenses on behalf of defendants, and at the time of his termination said card had in
 27   excess of $100,000 on it. Despite demands made by plaintiff and on his behalf,
 28   defendants have failed and refused to indemnify plaintiff for said expenses, leaving

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  1   plaintiff responsible for them, and suffering potential financial losses and impairment
  2   of his credit.
  3                  49.             Defendants’ conduct in this regard is in violation of Labor Code §2802,
  4   and As a proximate result of the retaliatory conduct of the defendants, and each of
  5   them, plaintiff has suffered, and continues to suffer, special damages in an amount to
  6   be set forth at time of trial.
  7                  50. As a further proximate result of defendants' tortious conduct as
  8   hereinbefore alleged, plaintiff was caused to become seriously and severely
  9   emotionally upset and depressed. He has suffered, and continues to suffer, anxiety,
 10   worry, loss of appetite, loss of sleep, embarrassment, humiliation and mental anguish
 11   all to his damage and detriment in an amount unspecified at present, and which will
 12   be subject to proof at time of trial.
 13                  51.             The acts of defendants were done intentionally, willfully, oppressively,
 14   fraudulently and maliciously. The acts complained of were performed, authorized
 15   and/or ratified by defendants' officers, directors and managing agents, thereby
 16   entitling plaintiff to punitive and exemplary damages according to proof.
 17                                  WHEREFORE, plaintiff prays judgment as follows:
 18                  1.              Damages for lost wages and other special damages, including waiting
 19   time penalties and indemnification for business expenses, in an amount to be set forth
 20   at time of trial;
 21                  2.              Damages for plaintiff's emotional pain and suffering in an amount to be
 22   set forth at time of trial;
 23                  3.              Punitive and exemplary damages according to proof;
 24                  4.              Attorney's fees and costs of suit in amounts to be set forth at time of trial;
 25   and
 26   ///
 27   ///
 28

                                                                 13
                                     FIRST AMENDED COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
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  1                  5.              For such other and further relief as the Court may deem just and proper.
  2
  3   DATED: October 2, 2017
  4
                                                                                          ______/s/________
  5                                                                                       MICHAEL J. FABER
                                                                                          Attorney for Plaintiff
  6                                                                                       ALEXANDER MIRZA
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                                     FIRST AMENDED COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
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  1                                                                            JURY TRIAL DEMAND
  2                  Plaintiff hereby demands trial by jury.
  3
  4
      DATED: October 2, 2017
  5
                                                                                          ______/s/____________
  6                                                                                       MICHAEL J. FABER
                                                                                          Attorney for Plaintiff
  7                                                                                       ALEXANDER MIRZA
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                                                                                   EXHIBIT 1
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                                     FIRST AMENDED COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
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                  AMENDED AND RESTATED EMPLOYMENT AGREEMENT

      Effective as of April 1, 2013, the parties to this agreement {the "Agreement") Alexander
      Mir1.a (the "Executive"), and Cachet Hotel Group Limited, an entity created and existing
      under the laws of Hong Kong (the "Company") hereby amend and restate the previously
      executed Employment Agreement betw.een executive and Valencia Management Inc.
      by deleting it in its entirety and substituting the following:

                      The Company wishes to employ the Executive, and the Executive wishes to
      serve the Company, as its President and Chief Executive Officer. As such, this Agreement.
      sets forth the terms and conditions that v.ill govern the Executive's employment with the
      Company.

                     In consideration of mutual promises and covenants set -forth herein, the
      sufficiency of which is hereby acknowledged, the Company and Executive agree as follows:

                   I.      Employment.

                     During the term of the Executive's employment under thls Agreement, the
      Company shall employ the Executive, and the Executive shall serve the Company and its
      direct and indirect subsidiaries and affiliates (collectively, the "Companies") as President
      and ChiefExecutive Officer, with those duties and responsibilities generally associated with
      that position as may be reasonably assigned to him by the Chaiqnan of the Board of
      Directors of the Company (the ••chairman"). See Exhibit A attached hereto for a
      non-exhaustive list of responsibilities for which Executive will be responsible. The
      Executive shall report to the Chairman, shall devote all of his business time, ability and
      attention to the performance of his duties for the Companies, shall use commercially
      reasonable efforts to funher the interests of the Companies, and shall not directly or
      indirectly engage in any other business activity, except with the Company's prior written
      consent. The General Manager of the Company's existing hotel in Shanghai shall report to
      the Executive, and all ftnure hotel businesses of the Company shall also report to the
      Executive. The Executive shall be appointed as a member of the Board of Directors of the
      Company (the "Board") as soon as practicable following the Effective Date (as defined in
      Section 2 hereof).

                   The Executive's office and principal place of business shaH be located at
     Hong Kong, SAR and such other non United States locations as approved by the Chairman.
     The Executive's office and principal place of business shall be located at Shanghai,
     China. At all times during the term of this Agreement, the Executive shall adhere to all
     of the Company's policies, rules and regulations governing the conduct of its employees.

                   2.     Temt ofEmployment.

                 The term of the Executive's employment under this Agreement shall
     commence on April 1, 2013 (the "Effective Date") and shall continue until· the fifth




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        anniversary of the Effective Date unless terminated pursuant to Section 5 or 6.

                     3.      Compensation.

                              3.1    .§!!m, As compensation for the Executive's services under
        this Agreement, the Executive shall be entitled to a salary at the rate of $350,000 a year,
        payable in equal installments in accordance ·with the Company's customary payroll
        practices for its employees, but not Jess often than monthly. Such base salary rate shall be
        subject to periodic review, with such review to occur not Jess often than annually.
                            3.2    Cash Incentives. In addition to the Executive's base salary,
        and so long as the Executive is currently employed when such incentives are due and
        payable to the Company except as set forth in Section 6 with respect to the severance
        payment, the Executive will be eligible to receive the incentive compensation described
        herein beginning with respect to the remaining portion of calendar year 2013 (i.e., on a
        prorated basis for 2013): (i) annual discretionary performance-based incentive pay in the
        form of a target bonus equal to 40-50% of the Executive's then-base salary based on the
        performance benclunarks and determination mechanisms similar to those used for other
        senior executive team leaders.

                               3.3     Equity Incentive. The Company shall develop and adopt an
        equity-based incentive compensation plan for the Executive as soon as practicable following
        the Effective Date. The plan shall include the right of the Executive to receive the following
        equity interest: restricted stock equal to (i) 5% of Company equity; and, (ii) 5% of the equity
        in VM Granada Holdings, Ltd., such stock to be subject to the swne anti-dilution protection
        as that oHIO Echo Valley (as defmed in Section 6.3(b)(iv). For the avoidance of doubt, the
        stock described in this Section 3.3 shall be fully vested upon grant and shall not be subject to
        forfeiture, whether by reason of the Executive's tennination of emplo}1Dent or otherwise."

                             3.4    Taxes. Each party is responsible for its own taxes associated
        with the business relationship, and will each fulfill its own responsibilities for any taxes
        imposed by governments or governing authorities, and related accounting or audit
        requirements arising out of, as a result of, incidental to, or in coMection with obligations
        under this Agreement. For the avoidance of doubt, aiJ of Executive's tax-related
        responsibilities to relevant tax authorities are entirely his responsibility, including any
        income tax which may be payable on the compensation paid hereunder.

                     4.     Reimbursement of Expenses; Fringe Benefits.

                            4.1     Expenses. The Company shall reimburse (or shall cause one of
        the other Companies to reimburse) the Executive, in accordance with the Company's
        policies, for all approved reasonable and necessary out-of-pocket business expenses,
        including business class travel on all approved travel where business class is available,
        incurred by the Executive in connection with the performance of the Executive's duties
        under this Agreement in accordance with Company approved budgets. The Executive shall




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        furnish to the Company documentary evidence of each. such expense in the form
        reasonably required to comply with the Company's policies and all tax statutes and
        regulations applicable to the substantiation of the expense as a tax deduction.

                           4.2   Benefits. The Company does not provide health and
       welfare benefits, retirement plans, death and disability benefits or others forms of
       executive compensation or benefits except as specifically set forth in this
       Agreement.

                            4.3    Office and Company-Provided Resources: Expatriate Package.
       The Executive will be provided a dedicated office location in Shanghai; a dedicated Chinese-
       speaking assistant in Shanghai (chosen by the Executive), and the shared use of a driver in
       Shanghai. The Executive shall aJso be provided with use of a one-bedroom furnished
       corporate apartment, sourced by the Company, on a turnkey basis.

                     5.     Disability or Death.

                              5.1    Disability. If, as the result of any physical or mentaJ disability,
       the Executive shall fail or be unable to perform the essential functions of his position for a
       total of 30 consecutive days or for a total of 60 days in any twelve-month period, the
       Company may, by notice to the Executive, terminate his employment under this Agreement
       as of the date of the notice.

                             5.2   Pavments on Disability. If the Executive's employment is
       terminated under Section 5.1, the Company shall pay to the Executive, in full discharge
       of all obligations to the Executive, (a) the accrued amount of salary and incentive
       compensation, if any, payable or issuable to the Executive through the date of termination
       of employment, and (b) the amount of outstanding expense reimbursements due to the
       Executive under Section 4.1 through the date of termination of employment, in accordance
       with the terms of this Agreement

                            5.3   Payments on Death. The Executive's employment under this
       Agreement shall be terminated upon the Executive's death and the Company shall pay
       to the Executive's estate, in full discharge of all obligations to the Executive, (a) the
       accrued amount of salary and incentive compensation, if any, payable or issuable to
       the Executive through the date oftermination of employment, and (b) the amount of
       outstanding expense reimbursements due to the Executive under Section 4.1 through the
       date of termination of employment, in accordance with the terms of this Agreement.

                    6.      Termination.

                             6.1    Termination With or Without Cause. The Executive is engaged
       on an "at will" basis and can be terminated at any time at the Company's sole and unfettered
       discretion. During the first twelve months following the effective date of this Agreement
       (the First Year), if the Executive is terminated without Cause, or if he leaves fur Good




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       Reason, the Company shall pay to the Executive, in full discharge of its obligations to
       the Executive, the accrued amount of salary, if any, payable or issuable to the Executive
       through the effective date of tennination of employment, the amount of outstanding expense
       creimbursements due to the Executive under Section 4.1, and the amount of salary he would
       have received for the remaining months of the First Year. If at any time the Executive's
       employment under this Agreement is terminated by the Company for Cause, or if he leaves
       without Good Reason, the Company shall pay to the Executive, in full discharge of its
       obligations to the Executive, the accrued amount of salary, if any, payable or issuable to
       the Executive through the effective· date of tennination of employment and the amount of
       outstanding expense reimbursements due to the Executive under Section 4.1. Upon
       termination for any reason, all of Executive's other positions with the Company, VM
       Granada, HG Echo Valley or their affiliates shall immediately tenninate, inciuding any
       board membership and directorships, and Executive shall immediately resign such
       positions. ·

                             6.2. Executive's Right to Terminate in the event of Change in Control.
        If there is a Change in Control of the Company at a valuation for the· whole Company of
        more than $10,000,000 USD. the Executive shall have the right to terminate employment
        within the 90 day period thereafter and receive a lump sum payment equal to the product of
        three and his then current annual salary.

                             6.3   Definitions. As used in this Agreement:

                                         (a) the tenn "Cause" shall mean= (i) willful misconduct that is
        materially injurious to any of the Companies or any of their respective employees, or that
        materially and adversely affects the assets, liabilities, business, reputation or prospects of
        any of the Companies; (ii) breach of fiduciary duty to the Companies involving personal
        profit; (iii) the Executive's intentional refusal to perfonn his duties under this Agreement
        in a competent manner; (iv) fraud, embezzlement or other misappropriation by the
        Executive of funds or property of any of the Companies or any other criminal act
        committed during the Tenn against the Companies involving dishonesty or willful
        misconduct intended to injure the Companies (whether or not a felony); (v) the conviction
        of the Executive, or his plea of no contest to, a felony other than in colUlection with a
        motor vehicle; (vi) the conviction of the Executive, or his pleu of no contest to, a crime
        involving any financial impropriety or that would materially interfere with the
        Executive's ability to perfonn the services required under this Agreement or otherwise
        would be materially injurious to any of the Companies; (vii) substance abuse by the
        Executive which is repeated after \Yrltten notice to the Executive identifying such abuse; or,
       (viii) the breach by the Executive in any material respect of his obligations under this
       Agreement (including, but not limited to, any of his obligations under Section 7).
       provided, however, that any act or omission described in clauses (i), (ii), (iii) or (viii) will
       not constitute "Cause" if it is susceptible to cure and if it is cured by the Executive within
       five days following the Executive's receipt of notice from the Company; provided that such
       five-day (5) period shall be extended to thirty (30) days if in the Company's reasonable
       judgment such breach is not reasonably susceptible of cure within five (S) days and the




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        Executive has commenced to cure and is then proceeding with diligence to cure such
        breach.

                                       (b) The tenn "Good Reason" shall mean (i) a breach by the
       Company of any provision of this Agreement which, after written notice to the Company,
       is not cured within sixty (60) days; or (ii) a material adverse change in Executive's job
       duties or responsibilities, including or a material reduction in Executive's salary, other than
       a reduction of 15% implemented to all other similarly situated senior-level executives; (iii)
       Executive no longer reports to the Chairman of the Board); (iii) failure to pay any
       compensation hereunder when due which, after written notice to the Company, is not cured
       within ten (I 0) business days; or (iv) Robert W. Roche or his nominee is no longer the
       Chairman of the Board of the Company, or, HO Echo Valley, LLC (or its members,
       subsidiaries, and affiliates, or any other entity :which is in control of, controlled by or
       under common control with it or one or more of its members or the family members of
       such members, or the members of the Robert W. Roche Family) (collectively "HG Echo
       Valley") ceases to be the Company's single largest shareholder (a "Change of Control").

                              6.4    Release. Notwithstanding anything to the contrary in this
        Agreement, the Executive shall not be entitled to receive any post-employment
       compensation or benefit pursuant to this Section 6 or otherwise hereunder, unless, prior
       to receipt of any such compensation, benefit, the Executive executes and delivers to the
       Company (and any other applicable subsidiary of the Company) a general release of claims,
       in substantially the form attached hereto as Exhibit B, under which the Executive releases
       and discharges each of them and each of the other Companies and each of their respective
       affiliates, and their respective shareholders, members, officers, directors, managers,
       partners, employees and agents, from any claims and causes of action arising out of the
       Executive's employment or termination of the Executive's employment, but excluding
       claims and causes of action relating solely to the Company's obligations to make payments
       or provide benefits after termination of employment pursuant to the express terms of this
       Agreement, exercisable by the Executive within a 90-day period from the date . of
       termination of employment. If the release revocation period spans two years, then any such
       payments will be made in the second of those two years.

                     7.     Non-Solicitation and Related Covenants.

                            7.1     Non-Solicitation.

                                     (a) During the Executive's employment by any of the
       Companies (whether or not under this Agreement) and for a period of twelve months
       thereafter (the "Restricted Period''), the Executive shall not, directly or indirectly, on his
       own behalf or on behalf of any other person or entity, solicit for employment (or for
       consulting) or hire, or otherwise encourage the resignation of, any person who was an
       employee, officer or director of any of the Companies at any time during the twelve
       month period preceding the date of such solicitation, encouragement or hiring.




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                                       (b) During the Restricted Period, the Executive shall not,
        directly or indirectly, solicit or encourage any customer, client, joint venture or other
        business partner, investor, lender, management company, or supplier of any of the
        Companies to discontinue or diminish his or its business relationship with any of the
        Companies.

                            7.2     Confidentialitv. The Executive shall not at any time hereafter
        disclose to anyone (except in connection with the performance of his services for the
        Company or any of its subsidiaries}, or use in competition with any of them, any
        information with respect to any confidential, proprietary or secret aspect of the business of
        any of the Companies and shall otherwise comply with all aspects and provisions of the
        Confidentiality and Inventions Agreement executed by the Executive and attached as
        Exhibit C hereto. In the event of any conflict between the terms and conditions of this
        Agreement and the Confidentiality and Inventions _Agreement, the Confidentiality and
        Inventions Agreement shall control.

                              7.3    Competition with the Company's Brand and Branding Strategy.
        During the Executive's employment by any of the Companies (whether or not under this
        Agreement) and for a period of twelve months thereafter, the Executive shall not,
        directly or indirectly, on his O\\-n behalf or on behalf of any other person or entity, take
        any steps in furtherance of attempts to promote, market, build, open, manage or operate any
        "green" or "carbon neutral" hotels, motels, inns or resorts which compete with the Urbn
        brand.

                            7.4     Enforcement. Survjval. etc.

                                     (a) The covenants in this Section 7 are for the benefit of,
       and may be enforced by any of the Companies. The Executive acknowledges that the
       remedy at law for breach of the provisions of this Section 7.3 will be inadequate and that,
       in addition to any other remedy any of the Companies may have, they shall be entitled to an
       injunction restraining any breach or threatened breach, without any bond or other security
       being required and without the necessity of showing actual damages.

                                     (b) If any comt construes any covenant in this Section 7 to
       be unenforceable in any respect, the court may reduce the duration or area to the extent
       necessary so that the provision is enforceable, and the provision, as reduced, shaD then be
       enforceable.

                                  (c) The rights of the Company under this Section 7 may
       be assigned to any purchaser or other acquiror in connection with any transaction that
       results in a Change of Control, in which event the provisions of this Section 7 shall
       continue to be binding upon the Executive and shall be enforceable by the purchaser or
       other acquiror.

                                     (d) The covenants contained in Section 7 shall survive the
       termination of the Executive's employment (1'egardless of the reason for termination).




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                     8.      Miscellaneous.

                            8.1      Definition. As used in this Agreement, the term "affiliate"
       means, with respect to any person or entity, any person or entity directly or indirectly
       controlled by, controlling, or under common control with, that person or entity.

                           8.2    Headings. The Section headings of this Agreement are for
       reference purposes only and are to be given no effect in the construction or interpretation of
       this Agreement.

                             8.3    Notices. All notices and other communications under this
       Agreement shall be in writing and shall be deemed given when delivered personally or
       mailed by registered mail, return receipt requested, to the parties at their respective
       addresses set forth above (or to such other address as a party may have specified by notice
       given to the other party pursuant to this provision).

                            8.4    Severability. The invalidity or unenforceability of any
       provision of this Agreement shall not affect the validity or enforceability of any other
       provision of this Agreement, which shall remain in full force and effect.

                             8.5     Waiver. Either party may waive compliance by the other
       party with any provision of this Agreement. The failure of a party to insist on strict
       adherence to any term of this Agreement on any occasion shall not be considered a waiver
       or deprive that party of the right thereafter to insist upon strict adherence to that term or any
       other term of this Agreement. No waiver of any provision shall be construed as a waiver
       of any other provision. Any waiver must be in writing.

                             8.6     Assignment. Neither party may assign any of its or his rights
       or delegate any of its or his duties under this Agreement without the prior written consent of
       the other party, except the Company may assign its rights under this Agreement to the
       purchaser or surviving company in connection with a Change in Control. Any assignment
       or delegation in violation of this prohibition shall be void.

                            8. 7    Governing Law; Submission to Jurisdiction; Arbitration.

                                     (a) This Agreement shall be governed by and construed in
       accordance with the Jaw of the State of Jllinois applicable to agreements entered into in
       Illinois. Any dispute, controversy, claims or differences of any kind whatsoever arising out
       of or in connection with this Agreement shall be resolved exclusive]y through arbitration
       administrated by the Hong Kong International Arbitration Centre in Hong Kong which shall
       be conducted in accordance with the then effective ICC Rules.

                                     (b) Notwithstanding anything to the contrary in Section
       8.7(a), either party shall be entitled to seek injunctive relief from a court of competent
       jurisdiction to enforce or resolve a question regarding enforcement of the provisions of
       Section 7 of this Agreement. For this purpose, each of the parties to this Agreement




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        submits to the jurisdiction of the courts of the State of Illinois and the United States
        District Court for the Northern District of Illinois, including, but not limited to, the in
        personam and subject matter jurisdiction of those courts, waives any objection to such
        jurisdiction on the grounds of venue or forum non conveniens, the absence of in
        personam or subject matter jurisdiction and any similar grounds, consents to service of
        process by mail (in accordance with Section 8.3 or any other manner permitted by law) and
        irrevocably agrees to be bound by any judgment rendered thereby in connection with this
        agreement. These consents to jur~sdiction shall not be deemed to confer rights on any
        person other than the parties to this Agreement.

                             8.8    Entire Agreement; No Oral Change. This Agreement,
        together with the Confidentiality and Inventions Agreement, contain, and are intended as, a
        complete statement of all the tenns of the arrangements between the parties relating to the
        subject matter hereof and thereof, supersede any previous agreements and understandings
        between the parties, and cannot be changed or terminated except by an agreement in writing
        signed by both parties.

                             8.9    Execution in Countemarts. This Agreement may be executed
        in one or more coWlterparts, each of which shall be deemed an original but all of which
        together shall constitute a single document. Delivery of an executed counterpart of this
        Agreement by facsimile or .pdf/e-mail copy will be deemed as effective as delivery of an
        originally executed counterpart.

                      9. Supersedes Prior Agreement.

                       This Agreement supersedes and replaces the employment agreements
       previously executed by Executive with Acorn Composite Corporation and with Valencia
       Management Inc., which agreements the parties agree are void and of no force and effect.


        Valencia Management Ltd.

        By:~~
        Benjamin D. Johnson, Director

        Cachet Hotel Group Limited

        By:~~
        Benjamin D.    hnson, Director




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                                                 EXHIBIT A

      I. Pursuant to contractual arrangement between the Company and VM Granada, the
         owner of the hotel IP, developing Urbn, r. hotels, Cachet, Savant (and eventually other)
         hotel brands internationally through brand management, licensing, franchising and N
         agreements, focusing initially in China, Southeast Asia, India and eventually worldwide
         including hotels, resorts, service apartments, residences, timeshares and other multi-use real
         estate developments.                 ·

      2. Pursuant to contractual arrangement between the Company and VM Granada, the
         owner of the hotel IP, developing food and beverage brands, including Laris branded
         restaurants, newly developed or acquired restaurant brands, celebrity chefs, destination bars
         and nightclubs internationally through licensing, management, N s and other agreements in
         China (initially), and eventually India, other Asia, MENA and the Americas.

      3. Developing a centralized services fee business including a Cachet branded hotel portal
         encompassing hotel, restaurant and travel distribution and loyalty partnerships that support
         both owned and affiliated hospitality properties internationally.

      4. Other duties as assigned to help support overall hotel growth and strategic development
         consistent with those of a Chief Executive Officer.




      EXHIBIT B AND EXHIBIT C to follow




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                                                       EXHIBIT C
                          CO!Iffi!)ENJ"IA!.IJY & INVENTIQNS AGREEMENT
              In c:onsid~ru1lon of the undersigned Executive's ~~ppoinunc:nt IIJidlor              continu~d
       appoinlment \\ith [            )(the "Company"), Executive agrees as follows:

       I.     Confidentiality.
                (e)    El<ccutivc: ugrces to keep secret and confidential, and will not (i) except for
       purposes of carrying out any duties us an \.'l11ployoec of the Company as expressly authorized or
       dircc:tcd by an officer of the Company, disclose, disseminate, publish or transfer to any person,
       corporation, firm. or other cntity, eilber during E:'Cccutivc's appointment with the
       Company (the "Appointment Period") or at any time 11flcr the tenninalion thcreor. (ii) usc
       in Executive's subsequent businc~~ ac:livitics or cmploymcnt, without the express written
       authorization of the Company, or (iii) reproduce in any manner, or remove from the Company or
       Executive's work location aD)' proprietary and confidential infonnation of the Company
       (hereinafter referred to as "Conlidcntiullnformation").
              (b)         Such Conlidenti11l lnfnnn11tion includes, without limitation, the Identity of the
       Company':~    Clients (liS defined in Section U below), Client lists, Client c:ootracts, ranicuiW"
       needs of each Client, the manner in which basiness is conducted with each Client, any past or
       rn:sc:nt busines.~ infonnation. trade secret, innovations, inventions. discoveries, improvements,
       research or test results, datu, mlllkclinc plllllS, business piiiDS, operational m1111uals or methods.
       price lisu. stralegies, fo~ unpublished fmanciml infcnmmtion, budgets, projections,
      software, techniques, designs, processes, formuiiiS, developments or eXperimental '1\'0rk, \\'Ork in
      process, scripts, trelllmeniS, outlines, scn~Cnplays, options, creative ideiiS, or lillY other secret or
      confidrotial mutter n:lllling to the projects, flllllllcing. concepts, investments, market strategies,
      tax planning documents, pruduc:ts, services. invcstnJS, customers, employees or officers of the
      Company (including identifying lnfonnation, salaries, benefits, responsibilities and relati"c
      abilities). investment rctums or fees, costs, pricing, suppliers, sales, or business oiTalrs of the
      Company, as well BS all information thlll has or could have commercial value or other ullllty in
      the business in wllich the Compmny or its Clients arc engaged or In which they cuntcmplute
      engaging and which the unauthorized disclosure could be detrimental to the interests nr the
      Company or the Clients, whether or not such infonnotion is identified as Confidential
      lnfonnation by the Company ur its Clients. Executive acknowlcdses that the Company has
      n:c:dved and in the future will rca:ive fron1 third parties (including, without limitation, Clients)
      confidential nr proprietary infonnation (''Third Party Information") subject to a duty on the
      Compony's part to maintain the confidentiality of such information and to usc it for onl)' certain
      limited purposes, including. Yoilhout limitDiion, nanu:s, contact infonnation, credit card
      information, personally identifiable infonmuion, omd other person11l, non·publlc lnfonnation
      about the Compan}'S ClieniS. E"cc:utivc DgTCI.'li that any such Third Perty Information shall be
      inc:luclcd \\ithin the tcnn "Confidential lnfonnation" for all pUI]lOSCS under this AgrccmcnL
      Executive agrees to take all precautions reasonably neccssaty to prevent the unauthmi7.ed use,
      disclosun:, OT dissemination of Confidential Information both during the Appointment Period and
      at any time after the tenninatlon thereof.                                                                          ·_   ..   :,__;.


      2.      No ConDie)    Ex~:cutlvc acknowledges that Executive has no other agreements,
                                                                                                                                ·:·-_;,"'·:
      relationships or commitments to any other person or entity thai conflict with Executive's                                         ·--7· ':'
                                                                                                                 ·   ..




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             Obliglltions to the Compm~y under this AgrecmenL E~U:CUti,·c wa11 not disclose 10 lhc
             Company, or usc, or induce the Compnny 10 usc, any proprietary lnfonnatlon or trade sccrcb of
             olhers, including. without limilatio11, client lists or client dala. Executive represents and wamnts
             that Executive has rctumcd all property and confidential infonnalion belonging to 1111
             prior employers.

         3.       Inventions. Executive ogn:cs to promptly disclose in writinG to lhc Compmy any and all
         works of uulhorship (including. wilhout limilalioP, any seriJ)t, screenplay, treatment, story,
         outline, or development rrojccl) and inventions, discoveries, developments, improvements,
         designs, ideas, innovations, inventions, formulas, processes, techniques. know how, and data
         (collectively, "Inventions") lhat he muy conceive, discover, develop, learn ur make during his or
         her appointment with the Compuny, whether such is made solely or jointly with others, whether
        or not patentable or rcgistcrDblc under copyright or similar statutes, and wbclh:r or not such
        conception, discovery ur making involves the use oflhe Company's time, facililies, equipment or                                 ·   .   :
        peMnnel (such Inventions chat he or she may conceive, discover, develop, leam or make during
        his or her work with tlul Company, collectively, "Compuny Inventions"). E.xecutlve acknowledges
        and agNes that any and all such Company Inventions arc "works for hire" under applicable
        law, and all right, Iitle and interest therein shall belong to the Compmy. Executive furlher
        oarces to assign. and does hereby assillll. to the Company all right, title 1111d interest in and 10 lillY
        and all such Company ln,'Cntions and agrees 10 execute all documents deemed necessary or
        desirable by the Comp11ny in connection therewith, Including patent 1111cllor COJ))Tight
        assignment~, 1111d to c:oopemtc both during and after her work with the Contpany, at the
        Company's expense, in 1111 1\Jrlher 11c:tions deemed necessary or dcsiroblc to confirm, register,
        protect or enforce lhe Compzmy's rights therein.

       In lhc event the Company is unable for any reason, after rcosonable effort, to secure Executive's
       signature on any document needed in connection with the actions specified in the preceding
       Paniiii'IIPh, Executive hereby irrevocobly designates and appoint the Company 1111d its duly
       authorized officers and agents as Executive's agcm and attorney in fact, which appoinlment is
       coupled with an interest, to act for and in Ex-ecutive's behalf to execute, vcrif.y and file o.ny such
       d~ment zmd 10 do ull other lawfully permiued acts lo further lhc purposes or the preceding
       plll'lll!J'IIph with the same legal force and effect as if executed by Executive. Executive hereby
       waives and quitclaims to the Comp1111y lillY and all claims, of any nature whatsoever, which
       Executive now or muy hereafter have for infrineement of ll.lty Company Inventions assigned
       hereunder to the Comp11ny.
        4.      Rctuo•n op Tt:rmlngtlnp: Npn-DI:~pgrogcmcnt, In the event of termination (voluntary
        or other.Yise) of appointment with the Company or on demand lll anytime prior thcn:to,
       Executive agrees to deliver promptly to the Company 1111 Confid~-ntial Information and
       Inventions, whether prepared by Executive or other.vise coming into his possession or control
       relating to any rroduet, business, work, c:u~tomer, surrtier, or other nspcct of the Cnmpany. Thi~
       obligation shall include lhc return of any materials, whether written, electronic or in any other
       form, including any summaries, copies, excerpts, notes or memoranda contoining or relating to
       any Personal Information, Confidential Information or Inventions. Executive asrees that, both
       during the Appointment Period and at all times thereafter, Executive shall (i) refrain from making
       any disparnging rcmlll'ks about lhc businesses, services, venues, employees, representatives,
       members, officers. managers or olher personnel of the Cnmpany or its Clients and (ii) not take
       any action or mal:c any statements that are intended or should reasonably be cxpc:Cied to
       discredit, demean, or have a material adverse effect on lite Company or its Clients•
       .S.    fuaher Acv;, Executive agree:~ th11t. both durins the: Appuiutmcnt Period wad at ull
       times thereafter, Executive will sign all papers, give e\·idcncc and testimony, and, at the
       Company's expense, perform all nets which, in the Company's opinion, arc necessary, rropcr or
       expedient 10 CliiT)' out and fulfill tlu: purposes and intents of this Agreement.                             -·:·   "':'   .- ..

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                                                                                                                                -·.
                                                                                                                                               "
          under common control with [ ] or one or more of Its mem~rs or the family members of sucll
          members, 1111d the members of the Roche Fmnily. Any and all such entities 1111d Individuals shllll be
          entitled to enforc:o the rights of the Company hereunder. Should Executive be employed by or                                                        •    ~ + ~··
          lnlnsfemd to a successor, or to a member, subsidllll')', affilillle, or other related endty, this                                        ~·•   '          . -~·-

          Agreement shall continue In full forc:o and efTecs as pan of the terms of Executive's appoinhl1ent.
           IJ.      C!!ept§ Qefipsd, All refercnees herein to the "Clients" shall mean 1111d refer to any
          persons or entities (I) with whom the Company invests, or proposes to invest. or invcstisates for                                              .   ~·:   ...
          the purpose of dc:eiding whether to Invest, money or other property (whether as equity or debt),
          (ii) for whom the Company provides, or proposes to provide, goods or services (Including.
          without limitation, any prior, CIIJ1'Ctlt or prospective customer or guest of any hotel, restllW'anl,
          bar, nightclub or other venue that is owned, operated, managed or controlled by the Compauy) or
          (iii) from whom the Company or Executi\'e obtains infonnation in connc:eticn with the operation
          oflhc Company's business.

      I J ~·. ..   Govemjgg   IJtw _'Thi~ ~~I;.IJ!C.!'U.~~.It ~ S'!.V~r;!l!!cl!>>.:: ~d_ C:.O!'!Itu~ !'ClC!!td!ns.~ jf!e)!!"~~'L< :. ~ { ~ttedl ~;11~ New~. Nat
        of the State of Illinois, us such laws arc 11pplied to agreements entered into 1111d to be pcrfonncd          - ~ -{ I'Grmat2Cdl FGnl: llniCI Hew Roman
        entirely within Illinois between IUinois residents. Executive hereby expressly conseniS to the                               . ·, .
        personal jurisdiction of the state and federal courts located In Chicago, Illinois for any lawsuit filed                                                             ·:,.·
        there against Executive by Company arising from or relllled lo this Agreement.
                                                                                                                              :.-~ .

          Date: Effective as of

          Company
          By:_ _ _ _ _ _ _ __
                                                                                                                                  -.. . . ··. ~- ..
          Iu:_ _ _ _ _ _ _ _ __                                                                                                                                               ·-:
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                                                                                            Execution Copy
                                                   FffiST AMENDMENT

                                                              TO
                            AMENDED AND RESTATED EMPLOYMENT AGREEMENT

                      This First Amendment to Amended and Restated Employment Agreement {''First
         Amendment'') is made and entered into as of May I, 2014 ("Execution Date''), by and among Cachet Hotel
         Group Limited (HK) ("Company"), Cachet Hotel Group Limited Cayman L.P. ("Cachet Cayman"), and
         Alexander Mirza ("Executive").

                       A.     Executive is currently employed by the Company as the Company's President and
         Chief Executive Officer pursuant to that certain Amended and Restated Employment Agreement, dated as of
         Aprill, 2013 ("Agreement").

                       B.      The Company is a wholly-owned subsidiary of Cachet Cayman.

                      C.     Executive and the Company now desire to make certain amendments to the
         Agreement and Cachet Cayman desires to become a party to the Amendment for the limited purposes set
         forth below.

                       NOW, THEREFORE, intending to be legally bound, the Company, Cachet Cayman and
         Executive hereby agree as follows:

                       I. The Agreement is hereby amended as of the Execution Date as follows:

                               a. The first sentence in Section I is deleted in its entirety and replaced by the
                                  following new sentence:

                                      "During the term of Executive's employment under this Agreement, the
                       Company shall employ the Executive, and the Executive shall serve the Company and Cachet
                       Cayman, and their respective direct and indirect subsidiaries (collectively, the ''Companies''),
                       as President and Chief Executive Officer, with those duties and responsibilities generally
                       associated with that position as may be reasonably assigned to him by the Chairman ofthe
                       Board of Directors of Cachet Cayman (the "Chairman")."

                               b. Section 1 is amended by the insertion of the following sentence at the end thereof.

                                       "The foregoing notwithstanding, Executive shall be authorized to serve In the
                       position of Executive Chairman of Cachet World (an entity under formation) and such
                       service shall not be deemed a violation of this Section 1 or Section 7.3. The Company
                       acknowledges that (i) following its formation Cachet World intends to grant Executive a ten
                       percent (10%) equity interest in Cachet World, with five and one-half percent {5.5%) being
                       vested on the grant date and an additional one and one-half percent {1.5%) to vest on each of
                       the next three anniversaries ofthe grant date and (ii) Cachet World may in the future
                       separately compensate Executive for his services and agrees that Executive's receipt of such
                       equity rights and other compensation shall not be deemed a violation of this Section l.

                              c. Section 3,2 is deleted in its entirety and replaced by the following new provision:

                                       "3.2 Cash Incentive. In addition to Executive's base salary, and so long as
                       Executive is currently employed when such incentives are due and payable by the Company,
                       except as set forth in Section 6 with respect to Executive's right to severance, the Executive
                       will be eligible to receive incentive compensation in the form of annual discretionary
                       performance based pay with a target bonus opportunity of 50% of Executive's then base
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                   salary. The actual amount of the incentive compensation for a year. if any, shall be
                   determined by the Board of Directors ofthe Company based on Executive's perfonnance
                   against goals and benchmarks established by the Board from time to time.,

                           d. Section 3.3 is deleted in its entirety and replaced by the following new provision:

                                   "3.3 EQuity Incentive. (a) As of the Execution Date, Cachet Cayman has
                   granted to Executive a ten percent (10%) interest in the future profits ofCachet Cayman
                   ("Executive Interest") and Executive has become a limited partner of Cachet Cayman and has
                   executed and become a party to the Amended and Restated Exempted Limited Partnership
                   Agreement ofCachet Cayman ("LPA''). The Executive Interest is intended to be a "profits
                   interest" for U.S. federal income tax purposes and the receipt ofthe Executive Interest is
                   intended not to be a taxable event under current Internal Revenue Service guidance.

                                 (b) The grant of the Executive Interest shall be deemed for all purposes to
                   completely and fully satisfy any and all obligations of the Company to provide equity based
                   incentive compensation to Executive either under Section 3.3 of this Agreement as was in
                   effect on April!, 2013 or otherwise.

                                   (c) Within twenty (20) days of the Execution Date, Executive shall provide
                   the Company with a copy of a completed election under Section 83(b) of the Internal
                   Revenue Code of 1986, as amended ("Codej with respect to the receipt of the Executive
                   Interest and shall timely (within thirty (30) days of the Execution Date) file such election
                   with the Internal Revenue Service and notify the Company of such timely filing.

                                    (d) Five and one-half percent (5.5%) ofthe Executive Interest shall be vested
                   on grant and an additional one and one-half percent (1.5%) shall vest on January 1, 2015,
                   January 1, 2016, and January I, 2017, with the full ten percent (10%) Executive Interest
                   being fully vested on January I, 2017. The Executive Interest shall also be deemed to be
                   fully vested (including any unvested portion) upon Executive's Termination by the Company
                   without Cause or by Executive for Good Reason or upon the occurrence of a Change in
                   Control, a Significant Capital Event, or Liquidation of Cachet Cayman. Except as expressly
                   described above, any unvested portion of the Executive Interest on the date ofTermination
                   shall be forfeited and cancelled.

                                    (e) From and after the Execution Date, Net Profit and Net Loss (both as
                   defined in the LPA) shall be allocated to Executive as if the Executive Interest were fully
                   vested. However, in the event that as of the date of Executive's Termination the Executive
                   Interest is not fully vested, Executive's Capital Account shall be adjusted to reflect only the
                   Net Income that would have been allocated to Executive's Capital Account had Net Income
                   been allocated based on the vested portion of the Executive Interest at the time of such
                   allocation. To the extent that this adjustment results in Executive's Capital Account having a
                   negative balance, Executive shall pay to Cachet Cayman the amount necessary to eliminate
                   such negative Capital Account balance within thirty (30) days of Executive's receipt of
                   written notice from the Company setting forth the repayment amount. For the avoidance of
                   doubt, Executive shall not be required to repay to the Company an amount in excess of the
                   aggregate Distributions (as defined in the LPA) made to Executive with respect to the
                   Executive Interest
                                  (f) The following examples illustrate the operation of paragraph (e) above;

                                     (i) The Company has a loss in 20 14 and no allocation is made to
                                  Executive's Capital Account. Executive's Capital Account is allocated $1,000
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                                  of Net Income for 2015 and Executive receives a Tax Distribution of $400 that
                                  re~uces his Capital Account to $600. The Executive voluntarily resigns
                                  Without Good Reason at the end of 201 S and the Executive Interest is
                                  redeemed pu':5uant to the terms ?fthe LPA in 2016. Pursuant to paragraph (d)
                                  above, the adJustment to Executive's Capital Account is a reduction of
                                  $300.00 [the amount by which the allocation he received based on an assumed
                                  10% profits interest ($1 ,000) exceeds the allocation he would have received
                                  based on his vested interest at the time ($700)]. Because'his Capital Account
                                  balance is positive after the paragraph (d) adjustment, Executive has no
                                  repayment obligation under paragraph (d) above.

                                      (ii) Executive's Capital Account is allocated $1,000 for 2014, $1,500 for
                                  2005 and $2,500 for 2016. Executive receives Tax Distributions of$400,
                                  $600, and $1,000 respectively that reduce his Capital Account to $3,000 at the
                                  end of20 16. Executive is fired for Cause late in 2016 when the Executive
                                  Interest is 8.5% vested. Pursuant to paragraph (d) above, .the Capital Account
                                  adjustment is a reduction of$1, 125 ($450 for 2014,$300 for2015, and $375
                                  for 20 16). Because his Capital Account balance is positive after the paragraph
                                  (d) adjustment, Executive has no repayment obligation under paragraph (d)
                                  above.

                                      (iii) Assume the same facts as in (ii) above, except that Executive received
                                 an additional $2,500 in Distributions so that at the time of his Termination his
                                 Capital Account balance was $500. After making the paragraph (d)
                                 adjustment of $1,125, Executive's Capital Account balance would the ($625)
                                 and Executive would have a repayment obligation of$625 under paragraph
                                 (d).

                                  (g) Following Executive's Termination for any reason, all or any portion of
                  the vested portion of the Executive Interest is subject to redemption by Cachet Cayman in
                  accordance with the terms ofthe LPA. However, as permitted by Section 9.2 ofthe LPA, if
                  Executive's Termination occurs on or after the second anniversary ofthe Execution Date and
                  Cachet Cayman exercises its call right under such Section 9.2 with respect to all or any
                  portion of the Executive Interest, the Fair Market Value of the Units subject to such call shall
                  be detennined by a Qualified Independent Appraiser in accordance with the provisions of the
                  LPA.

                                  (h) Executive's rights to receive allocations of the profits, losses, gains,
                  deductions and credits of Cachet Cayman and Distributions from Cachet Cayman shall be
                  governed ~y the LPA. Pursuant to the LP A, Executive shall receive a special profit
                  allocation on liquidation in an amount equal to ten percent (10%) ofthe value of the assets
                  deemed contributed to Cachet Cayman upon its formation, which preference shall be second
                  only to the preference of the Class A Limited Preferred Unit Holders with respect to their
                  Unreturned Capital.

                                  (i) Upon the occurrence of a Qualifying Sale, Executive shall have the right,
                  for a period ofthirty (30) days following the closing of such Qualifying Sale, to require the
                  Company to purchase from Executive the Equivalent Percentage of the vested portion of the
                  Executive Interest ("Put Right'') for Full Value. If Executive exercises the Put Right, the
                  Company shall purchase such portion of the Executive Interest by paying the purchase price
                  to Executive in a lump sum within thirty (30) days after receiving notice of Executive's
                  exercise of the Put Right. In exchange for such payment, Executive shall execute and deliver

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                    to the Company such representations, warranties, consents, certificates, assignments or other
                    docu~ents. as the ~om pan~ may reasonably request in order to fully convey to the Company
                    ~II r1ght, t1tle and mterest m the Equivalent Percentage of the Executive Interest rree of all
                    hens, encumbrances and other claims.

                           e. Section 3.4 is renumbered as Section 3.5 and new Section 3.4 is added to the
                              Agreement to read as follows:

                                   "Cachet World Equity Incentive Matters It is the intention that Cachet World
                    shall be formed as an independent company and not as a subsidiary of Cachet Cayman (and
                   that Cachet Cayman will not have an equity interest in Cachet World). Cachet World intends
                   to grant Executive and other key Cachet World employees interests in Cachet World that are
                   similar to, and on similar terms to, the Class B Limited Units granted by Cachet Cayman to
                   Executive and other key Cachet Cayman employees. The specific equity percentages and
                   vesting schedules for the equity interests that Cachet World intends to grant are reflected on
                   Exhibit B to this First Amendment. The vesting period with respect to Executive's grant
                   shall commence on the Execution Date. The vesting period with respect to other grants shall
                   commence on the date that the applicable employee signs a Class B Limited Unit Grant
                   Agreement with Cachet Cayman. Executive's equity percentage and vesting schedule as
                   reflected on Exhibit B shall not be changed without the consent of Cachet Cayman and
                   Executive."'

                           f. Section 4.3 is amended by the addition of the following at the end of such section.
                                  "The Company shall provide Executive with professional assistance in
                   connection with the preparation of Executive's Hong Kong, Chinese and United States
                   income tax returns, the cost of which shall not exceed US$5,000 per annum.

                           g. Section 6.1 amended in its entirety to read as follows:

                                   "6.1 Termination. (a) The Grant ofthe Executive Interest shall not create
                   any right of Executive to continue in employment with the Company. Executive's
                   employment by the Company shall be deemed to be "at will" and the Company reserves the
                   right to terminate such employment at any time in its sole and unfettered discretion with or
                   without prior notice. Executive shall also have the right to terminate his employment by the
                   Company for any reason with ninety (90) days prior written notice. This Agreement shall
                   terminate automatically upon such termination of employment for any reason, including
                   death, except as otherwise expressly provided herein.

                                  (b) In the event of a Termination by the Company other than for Cause or by
                   Executive for Good Reason (with respect to which Section 6.1 (c) below does not apply), in
                   addition to any accrued but unpaid salary or other compensation or expense reimbursement
                   payable to the Executive as of the date ofTennination, the Company shall also pay the
                   Executive an amount equal to twelve (12) months' base salary at the rate in effect on the date
                   ofTermination. Such payment shall be made in twelve equal monthly installments
                   commencing on the first regular payroll date that falls at.least thirty (30) days after the date of
                   Termination. In the event of a Termination by the Company other than for Cause or by
                   Executive for Good Reason, Executive shall also be eligible to receive any incentive
                   compensation .awarded to him pursuant to Section 3.2(a) with respect to the calendar year in
                   which the Termination occurs, but shall not be eligible to receive incentive compensation for
                   any subsequent calendar year.


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                     .      •        (c).In the event .of a Termination by Executive for Good Reason (as described
                     m Sectton 6.3(b)(tv) below) within 90 days following the Change in Control and provided
                    t~at the value ofthe Company at the. time of such Termination is at least US$10 millio~ in
                    heu ofthe payments ~rovi~ed under Secti?n 6.1 (b) above, the Company shall pay Executive
                    an amount equal to th1rty-s1x (36) months base salary at the rate in effect on the date of
                    Tennination in a lum~ su~ on the first ':gular payroll date that falls at least thirty (30) days
                    after the date ofTermmat1on and Execut1ve shall also be eligible to receive any incentive
                    co~pensation a~~ to him pursuant to Section 3.2(a) with respect to the calendar year in
                    wh1ch the Termmat1on occurs, but shall not be eligible to receive incentive compensation for
                    any subsequent calendar year.

                                    (d) Executive•s right to such Termination payments shall terminate and be
                    forfeited in the event that the Executive does not provide the release specified in Section 6.4
                    below within thirty (30) days following the date ofTermination.

                                  (e) lf(i) the Termination is as a result of Executive death or (ii) upon his
                   Tennination by the Company for Cause or due to Executive's permanent disability or by
                   Executive other than for Good Reason, the Company's sole obligation shall be to pay the
                   Executive any accrued but unpaid salary or other compensation or expense reimbursement
                   payable to the Executive as of the date ofTermination.

                                   (f) Upon his Termination for any reason, Executive shall be deemed to have
                   resigned all officer, director, committee membership or other positions held by the Executive
                   with the Companies, provided that Executive may continue to hold any positions he may then
                   hold with Cachet World."

                           h. Section 6.2 is hereby deleted in its entirety.

                           i. Section 6.3 is amended to include the following introduction and new definitions:

                                  "Capitalized terms used in this Agreement and not expressly defined herein
                   shall have the meanings given to such terms in the LPA as in effect from time to time.

                                 The term "Affiliate, means any entity which is a member of a controlled
                   group which includes the Company or which is under common control with the Company
                   within the meaning of section 414 of the Code, provided that in determining whether or not
                   such common control exists the term "at least 50 percent" shall be substituted in each case
                   where the term ••at least 80 percent" is used in section 414 or 1563 of the Code.

                                    The term ''Change in Control, means (a) Robert W. Roche or his nominee is
                   no longer the Chairman of the Board of Cachet Cayman or Robert W. Roche and the
                   members of his family, when their interests are combined, do not hold, directly or indirectly
                   through their equity interests in other entities or. beneficial interests in one or more trusts, the
                   largest percentage interest in Cachet Cayman or (b) a transaction that constitutes a "change in
                   ownership" of Cachet Cayman or "change in ownership of a substantial portion ofthe assets"
                   of Cachet Cayman for purposes of Section 409A ofthe Code and the regulations promulgated
                   thereunder. provided that a change in ownership of a substantial portion ofthe assets ofthe
                   Cachet Cayman shall not be deemed to occur unless the assets sold by Cachet Cayman have a
                   total gross fair market value equal to more than eighty percent (80%) of the total gross fair
                   market value of all ofCachet Cayman•s assets. The foregoing notwithstanding, in no event
                   shall (i) a transfer to a Person directly or indirectly controlled by a Class A Preferred Limited
                   Unit Holder of Cachet Cayman, whether such transfer in made with or without consideration
                   or (ii) a sale of equity constituting a "change in ownership" of Cachet Cayman in a
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                    transaction where a majority of the sale proceeds initially remain in and increase the capital
                    of Cachet Cayman, constitute a "'Change in Control".

                                   The term "Equivalent Percentage" means the same percentage of the vested
                    Executive IntereSt as the percentage of Class A Preferred Limited Units that is sold in a
                    Qualifying Sale.

                                  The term "Full Value, means the amount that would have been received by
                   Executive with respect to the vested portion of the Executive Interest if there had been a sale
                   of all ofthe Units Cachet Cayman for a price that was equivalent to the price paid for the
                   Class A Preferred Limited Units in the Qualifying Sale followed by a liquidation of Cachet
                   Cayman and distribution of the proceeds of the sale in accordance with Section 5.2 of the
                   LPA. For the avoidance of doubt, in determining Full Value, the unvested portion of the
                   Executive Interest shall be treated as if forfeited immediately prior to the liquidation.

                                  The term "Qualifying Sate•• means a sale of Class A Preferred Limited Units
                   of Cachet Cayman for a gross purchase price that equals or exceeds the sum of (A) the
                   aggregate Unreturned Capital of the Class A Preferred Limited Unit Holders and (B) the
                   outstanding balance, including accrued interest, of all Limited Partners Loans made by Class
                   A Preferred Unit Holders in a transaction that does not constitute a Change in Control.

                                The tenn "Significant Capital Event" means that one or more Persons who
                   were not Members at the beginning of a Fiscal Year make Capitals Contributions to Cachet
                   Cayman in exchange for Interests during such Fiscal Year in an amount that exceeds U.S.$20
                   million.

                                  The term "Termination" means a termination ofExecutive's employment with
                   the Company and a11 Affiliates for any reason that qualifies as a separation from service for
                   purposes of Section 409A of the Internal Revenue Code of 1986, as amended and Treas. Reg.
                   § 1.409A-l{h).

                          j. The "Good Reason" condition in Section 6.3(b)(iv) is amended to read as follows:

                                  "(iv) a Change in Controt.••

                          k. The definition of"Good Reason'' in Section 6.3 is amended to include the
                             following at the end thereof:

                                   "The foregoing shall constitute "Good Reason, only if (i) the condition was
                   not consented to in advance by Executive in writing or ratified subsequently and (ii)
                   Executive provides the Company with written notice of such condition within ninety (90)
                   days of the initial existence of such condition and the condition remains in effect thirty (30)
                   days after written notice to the Company from Executive of his intention to terminate his
                   Employment for Good Reason which specifically identifies such condition!'

                          1. Section 7.2 is amended by the addition of the following new sentence at the end
                             thereof.

                                   "For the avoidance of doubt, Executive acknowledges and agrees that
                   Executive•s covenants contained in this Section 7:1., as well as those contained in Exhibit C
                   hereto, shall extend and apply to not only proprietary or confidential information of the
                   Company, but also any and all proprietary or confidential information of any of the
                   Companies:·
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                          m. Section 7.3 of the Agreement is amended in its entirety to provide as follows:

                                   "During Executive's employment by any of the Companies (whether or not
                   under this Agreement) and fora period ofhvelve (12) months thereafter, Executive shall not,
                   directly or indirectly, on his own behalf or on behalf of others, take any steps in furtherance
                   of attempts to promote, market, build, open, manage. or operate any hotels or resorts, or
                   component operations thereof, which compete with the Companies or the Urbn brand in the
                   Territory. For purposes hereof, the tenn "Territory" shall mean the city limits of any city in
                   the world in which, as of the date of Termination, one or more of the Companies: (a) owns,
                   operates, manages or is developing a hotel or resort, or component operation thereof. or (b)
                   has entered into a letter of intent regarding, or has entered into a definitive agreement to own,
                   operate, manage, or develop a hotel or resort, or component operation thereof. For the
                   avoidance of doubt, the restrictions contained in this Section 7.3 shall not preclude or prevent
                   Executive from being employed by or otherwise providing services to Cachet WorJd,.a
                   professional consulting firm providing a broad base of consulting serviees such as Bain or
                   Accenture or from providing services to broad-based travel firms such as Expedia,
                   Travelocity, or Priceline, provided that Executive shall continue to be bound by Sections 7.1
                   and 7.2 and Exhibit C ofthis Agreement."

                   2. Exhibit A to the Agreement is hereby deleted in its entirety and replaced by Exhibit A to
                      this Amendment.
                   3. All references to the term "Company" in Exhibit C to this Agreement shall hereafter be
                      deemed to mean the "Companies" or any entity included within such tenn as the context
                      requires.
                   4. Cachet Cayman hereby agrees to guarantee the performance of the Company of its
                      obligations under the Agreement and this Amendment.

                   5. Each of this Amendment and the Agreement shall be solely for the benefit of the parties
                      thereto and no other person may assert any right. as a third party beneficiary or otherwise,
                      under or interest in either this Amendment or the Agreement.
                   6. Except as expressly amended hereby, the Agreement shall continue in full force and
                      effect. All references to the term "Agreement" in this Amendment or in the Agreement
                      shall refer to the Agreement as amended by this First Amendment.




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                      IN WITNESS WHEREOF, the panies have e:l(ecuted this First Amendment to Amended and
         Restated Employment Agreement as of the I~"ecution Date.

                                                       CACHET HOTEL GROUP LIMITED (HK)


                                                       By.~
                                                       Name: RortW:ROCJle
                                                       'Iitie: Director

                                                       CACHET HOTEL GROUP LIMITED CAYMAN L.P.,
                                                       a Cayman Islands exempt limited partnership

                                                       By:   Cachet Hotel Group Limited Cayman G.P.•. a
                                                             Cayman Islands exempted limited company. its
                                                             GeneralPn~

                                                             By:
                                                             Nw·n--e:~Ro~~--~-.~~--.-----
                                                             Titlc: Qj rl:dor



                                                       ALEXANDER MIRZA




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                  IN WITNESS WHEREOF, the parties have executed this First Amendment to Amended and
     Restated Employment Agreement as of the Execution Date.

                                                  CACHET HOTEL GROUP LIMITED (HK)


                                                  By: -----------------------
                                                  Name: Robert W. Roche
                                                  Title: Director

                                                  CACHET HOTEL GROUP LIMITED CAYMAN L.P.,
                                                  a Cayman Islands exempt limited partnership

                                                  By:       Cachet Hotel Group Limited Cayman G.P.•• a
                                                            Cayman Islands exempted limited company, its
                                                            General Partner



                                                            B~·----------------------
                                                            Name: _ _ _ _ _ _ _ _ _ _ __

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                                                          EXHIBIT A
                                                               TO
                                          FIRST AMENDMENT TO
                              AMENDED AND RESTATED EMPLOYMENT AGREEMENT



                          As Chief Executive Officer of the Company, Executive shall have oversight responsibility for
         all aspects ofthe successful creation, development, managementand operation of all ofthe hotels and other
         related facilities owned, managed or operated by the Companies ("Company Properties"). Such
         responsibility may involve creating, developing, managing and operating businesses that provide goods or
         services to or otherwise benefit the Company Properties (each, an "Affiliated Business" and collectively the
         "Affiliated Businesses"). Such responsibilities shall include, but not be limited to,

             1. Oversee. supervise and coordinate the creation, development and operation of Company Properties
                and the Cachet Cayman hotel brands intemational1y through brand management, licensing,
                franchising, and JV agreements, focusing initially on China and Southeast Asia, and eventually
                worldwide, including hotels, resorts, service apartments, residences, timeshares, and other multi-use
                real estate developments.
             2. Oversee, supervise and coordinate the creation, development and operation of food and beverage
                brands, including Laris branded restaurants, newly developed or acquired restaurant brands, celebrity
                chefs, destination bars and night clubs internationally through licensing, management, JVs and other
                agreements.
             3. Oversee, supervise and coordinate the creation, development and operation of a centralized services
                fee business, including a Cachet branded hotel portal, encompassing hotel, restaurant and travel
                distribution and loyalty partnerships that support both owned and affiliated hospitality properties
                internationally.
             4. Other duties as assigned to help support overall growth and strategic development of Company
                Properties.
                         To the extent that an Affiliated Business provides goods or services to or otherwise benefits
         properties that are not Company Properties, without limiting the provision of the Agreement, Executive and
         such Affiliated Business may enter into a separate employment or consulting agreement governing
         Executive's duties and responsibilities and compensation, including equity compensation, with such
         Affiliated Business and related to the provision of goods or services to third parties.




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                                             EXHIBITB

                                 CACHET WORLD CAP TABLE



              Name              Percenta2e              Grant Date                 Vesting
      Roche Family Entities       73.5%
      Alex Mirza                  10.00%          [Date CHG employment      5.5% on Grant Date and
                                                   agreement amendment      1.5% on each ofthe next
                                                         executed]         three anniversaries ofthe
                                                                                  Grant Date
       David Laris                2.00%            Date Cachet Cayman        Second anniversary of
                                                  grant agreement signed          Grant Date
      Martin Key                  2.00%            Date Cachet Cayman        Second anniversary of
                                                  m-ant agreement signed          Grant Date
      YvonneChoi                  2.00%            Date Cachet Cayman        Second anniversary of
                                                  grant agreement signed          Grant Date
      Invest Hospitali!Y{USA)     2.50%                    TBD                       TBD
      Future President            5.00%                    TBD                       TBD
      Other future employees       3.00                    TBD                       TBD




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